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 5
     Attorneys for Defendant Thrive
 6   Causemetics, Inc.
 7
 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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11   THRIVE NATURAL CARE, INC.,                  Case No. 2:20-cv-9091-PA-AS
12               Plaintiff,                      Hon. Percy Anderson
13         v.                                    DEFENDANT THRIVE
                                                 CAUSEMETICS, INC.’S NOTICE OF
14   THRIVE CAUSEMETICS, INC.,                   MOTION AND MOTION FOR
                                                 CONTEMPT OR, IN THE
15               Defendant.                      ALTERNATIVE, FOR AN ORDER
                                                 TO SHOW CAUSE RE: CIVIL
16                                               CONTEMPT
17                                               Date: August 8, 2022
                                                 Time: 1:30 p.m.
18                                               Place: Courtroom 9A
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     DEFENDANT’S NOTICE OF MOTION AND MOTION FOR CONTEMPT OR, IN THE ALTERNATIVE,
                    FOR AN ORDER TO SHOW CAUSE RE: CIVIL CONTEMPT
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 1         TO PLAINTIFF AND ITS ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTICE that on August 8, 2022, at 1:30 p.m., or as soon
 3   thereafter as the matter may be heard, before the Honorable Percy Anderson in
 4   Courtroom 9A (9th floor) of the above-entitled court, located at 350 W. 1st Street,
 5   Los Angeles, California 90012, Defendant Thrive Causemetics, Inc. (“TCI”) will and
 6   hereby does move, pursuant to Federal Rule of Civil Procedure 70(e), for an order
 7   holding Plaintiff Thrive Natural Care, Inc. (“Plaintiff”) in contempt for violating this
 8   Court’s Judgment entered on January 19, 2022 (ECF No. 204) (the “Judgment”), and
 9   compelling Plaintiff to sign the document affirming its consent to TCI”s registration
10   of the THRIVE CAUSEMETICS mark, in the form attached as Exhibit C to the
11   concurrently filed Declaration of Rollin A. Ransom within one (1) business day of the
12   Court’s ruling on this Motion. In the alternative, TCI will and hereby does move for
13   the Court to issue an order to show cause directing Plaintiff to show cause as to why it
14   should not be held in contempt for violating the Judgment. This Motion is made on
15   the following grounds:
16         The Judgment requires TCI to amend its U.S. Trademark App. No. 87-895,130
17   (the “Application”) for the mark THRIVE CAUSEMETICS to exclude skincare
18   products from all of the Application’s International Class 003 and International Class
19   035 goods, and subject to that amendment, further requires Plaintiff to consent to
20   registration of TCI’s THRIVE CAUSEMETICS mark in the United States and
21   internationally. As required by the Judgment, TCI amended the Application and that
22   amendment has been accepted by the United States Patent and Trademark Office.
23   Although TCI has fully satisfied its obligation, Plaintiff has refused to consent to
24   TCI’s registration in violation of the Judgment. The Court should thus grant the
25   Motion, hold Plaintiff in contempt, and compel Plaintiff to comply with the Judgment.
26         This Motion is based upon this Notice of Motion, the attached Memorandum of
27   Points and Authorities, the Declaration of Rollin A. Ransom and the exhibits attached
28   thereto, and the record, files, and pleadings in this action, and such other further
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     DEFENDANT’S NOTICE OF MOTION AND MOTION FOR CONTEMPT OR, IN THE ALTERNATIVE,
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 1   arguments and supporting matters as may be presented at or before the time of
 2   hearing.
 3         This Motion was made following a conference of counsel pursuant to Local
 4   Rule 7-3 on June 14, 2022.
 5
     DATED: July 11, 2022                  SIDLEY AUSTIN LLP
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 7                                        By: /s/ Rollin A. Ransom
                                            Rollin A. Ransom
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                                          Attorneys for Defendant
 9                                        Thrive Causemetics, Inc.
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